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    EXHIBIT 4
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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      BOSTON DIVISION


  STUDENTS FOR FAIR ADMISSIONS, INC,

                Plaintiff,

                v.

  PRESIDENT AND FELLOWS OF                               Civil Action No. 1:14-cv-14176-ADB
  HARVARD COLLEGE (HARVARD
  CORPORATION),                                          Leave to file granted on July 31, 2018

                Defendant.




                      DECLARATION OF JONATHAN PAEK
              (HARVARD-RADCLIFFE ASIAN AMERICAN ASSOCIATION)

       Jonathan Paek, pursuant to 28 U.S.C. § 1746, declares the following:

       1.      My name is Jonathan Paek. I am a rising junior at Harvard and expect to earn my

bachelor’s degree in Sociology in 2020. I am writing this declaration individually and on behalf

of the Harvard-Radcliffe Asian American Association (“AAA”) in support of race consciousness

in Harvard College’s admissions policy.

       2.      Along with Genevieve Hu, I am Co-President of AAA. After consulting with

AAA’s board members, I have been given authority to submit this declaration on behalf of AAA.

       3.      AAA was founded in 1976 to unite Asian American students at Harvard and raise

greater awareness of Asian American issues through social, cultural, and political events. AAA

seeks to foster a community within Harvard dedicated to embracing our shared identity and

promoting greater awareness of Asian American issues and perspectives; provide a forum for

Asian Americans at Harvard to voice their opinions and comfortably explore their culture, identity,
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and individuality; address political, economic, and social issues affecting our communities at

Harvard, as well as at the local and national levels; celebrate achievements of Asian Americans,

including those in the arts, entertainment, politics, business, science, and academia; develop long-

lasting partnerships between students, alumni, community activists, and scholars; and inspire

participants to contemplate their roles and responsibilities in forging the future of Asian America.

       4.      AAA supports the consideration of race in admission because race plays a serious

role in our lives and greatly affects each person’s lived experiences. Race is a factor, among many,

that should be considered for a university to better understand its applicants and their experiences.

Moreover, it is important to note that we are not currently in a society where all racial backgrounds

have equal opportunities and access to higher education. As such, it is even more critical to take

into consideration the distinct challenges that minority groups face.

       5.      In addition, it is important to have a diverse student body in order to promote a

well-rounded educational experience. Learning from people who have lived experiences that are

different from our own helps with the development of genuine human connection and

understanding. I have been able to learn so many valuable lessons from my peers that I have not–

and would not have—been able to experience or understand myself. While these lessons should

never be interpreted as the sole explanation for an entire community or as tokenizing individuals,

they have added different perspectives to my life and have made me a better person.

       6.      Outlawing the consideration of race in admissions would detrimentally affect the

student experience at Harvard. Not only would we be deprived of the benefits of learning from a

wealth of experiences of others who are different from us, but students of color would also feel

much less comfortable on campus. Having a sufficient number of students from different minority

groups is imperative to promote genuine environments of inclusion and for organizations like AAA



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to function properly and serve their communities. If Mr. Blum’s efforts to end the consideration

of race in admissions are successful, future students may not enjoy a sense of belonging and

organizations that historically serve minority communities could lose members of their population

as well as their ability to serve them.

       7.      Nevertheless, AAA firmly opposes racial discrimination and is very troubled that

Harvard has been accused of intentionally discriminating against Asian American applicants.

       8.      While we are not in a position to say whether those allegations are true, AAA does

believe that those in Harvard’s admissions process may be affected by implicit bias.

       9.      It is absolutely imperative that Harvard takes these allegations seriously and takes

deliberate steps to make its admissions process more equitable. We strongly recommend that

Harvard conducts deeper reviews of its admissions process, hires more Asian American

admissions officers, recruits more Asian American alumni interviewers, and does implicit bias

training to ensure that everyone involved in the admissions process is aware of the myriad lived

experiences of applicants from various Asian American subgroups.

       10.     Likewise, AAA condemns the prevailing treatment of Asian Americans as a

monolith—as though all Asian Americans have access to the same opportunities and share the

same lived experiences. Asian Americans are incredibly diverse with vastly different lived

experiences. Asian Americans have and do benefit from race conscious policies, and applying

blanket statements on behalf of the population is misleading and irresponsible.

       11.     As such, we believe that it is incredibly important that Asian American

organizations on campus are given the opportunity to have conversations with administrators to

help ensure that steps are taken to move forward towards a more equitable admissions process.




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       12.     AAA and its board strongly oppose the usage of Asian Americans as a political

weapon to pit minority groups against each other. We are proud of our history of representing

Asian Americans and lending to our fellow minority communities and people of color. We will

not waver from that support now.

I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this day, July 29, 2018

                                                              /s/ Jonathan Paek
                                                               Jonathan Paek




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